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 8                        UNITED STATES DISTRICT COURT

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               SOUTHERN DIVISION

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12   UNITED STATES OF AMERICA,             No. 8:23-cr-00079-DOC

13             Plaintiff,                  I N F O R M A T I O N

14                   v.                    [18 U.S.C. § 1343: Wire Fraud;
                                           18 U.S.C. § 1957: Money
15   SARA JACQUELINE KING,                 Laundering; 18 U.S.C. § 982:
                                           Criminal Forfeiture]
16             Defendant.

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20        The United States Attorney charges:
21                                   COUNT ONE
22                              [18 U.S.C. § 1343]
23   A.   INTRODUCTORY ALLEGATIONS
24        At times relevant to this Information:
25        1.    Defendant SARA JACQUELINE KING, an attorney licensed
26   to practice law in California, operated King Family Lending LLC
27   (“King Lending”) in Newport Beach, California.
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 1        2.    King Lending purportedly provided short-term, high-

 2   interest loans to celebrities, professional athletes, and other

 3   high-net-worth individuals secured by the borrower’s own assets,

 4   including designer handbags, watches, luxury automobiles,

 5   yachts, and earnings from guaranteed professional sports

 6   contracts (collectively the “loans”).

 7   B.   THE SCHEME TO DEFRAUD

 8        3.    Beginning in or around January 2022 and continuing
 9   until at least in or around January 11, 2023, in Orange County,
10   within the Central District of California, and elsewhere,
11   defendant KING, knowingly and with intent to defraud, devised,
12   participated in, and executed a scheme to obtain money and
13   property from investors of King Lending by means of material
14   false and fraudulent pretenses, representations, and promises,
15   and the concealment of material facts.
16        4.    The fraudulent scheme operated, in substance, as
17   follows:
18              a.   Defendant KING, through King Lending, recruited
19   investors to purportedly fund the loans.
20              b.   Defendant KING told investors that their
21   investments were secured by the same collateral as the loans.
22              c.   Defendant KING promised that she would retain
23   possession of the collateral, and in the event a borrower
24   defaulted, defendant KING would sell the collateral and pay the
25   investor in full.
26              d.   Defendant KING represented that she would keep a
27   percentage of the interest earned from the loan for herself and
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 1   would pass along a percentage of the interest to the investor,

 2   along with the investor’s initial investment.

 3              e.   In reality, during this time period, defendant

 4   KING never initiated nor funded any loan.        Instead of using the

 5   investor funds for loans, defendant KING used the funds to

 6   gamble at Las Vegas casinos and support her lavish lifestyle.

 7        5.   Based on the fraudulent scheme above, defendant KING

 8   caused five investors to lose more than $8 million.

 9   B.   THE USE OF AN INTERSTATE WIRE

10        6.   On or about August 4, 2022, in Orange County, within
11   the Central District of California, and elsewhere, for the
12   purpose of executing the above-described scheme to defraud,
13   defendant KING caused the transmission of $99,980 from investor
14   L.R. through the Clearing House Interbank Payments System to
15   King Lending’s JP Morgan bank account located in Newport Beach,
16   California to fund a purported loan.
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 1                                  COUNT TWO

 2                             [18 U.S.C. § 1957]

 3        7.   On or about June 27, 2022, in Orange County, within

 4   the Central District of California, and elsewhere, defendant

 5   SARA JACQUELINE KING knowingly engaged in a monetary transaction

 6   of a value greater than $10,000, involving funds that she knew

 7   to be criminally derived property, and which property, in fact,

 8   was derived from specified unlawful activity, that is, wire

 9   fraud, in violation of Title 18, United States Code, Section

10   1343, specifically, a $132,156.09 withdrawal from King Lending’s

11   JP Morgan bank account to purchase a Porsche Taycan.

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 1                         FORFEITURE ALLEGATION ONE

 2                              [18 U.S.C. § 982]

 3        1.   Pursuant to Rule 32.2(a) of the Federal Rules of

 4   Criminal Procedure, notice is hereby given that the United

 5   States of America will seek forfeiture as part of any sentence,

 6   pursuant to Title 18, United States Code, Section 982(a)(2), in

 7   the event of the defendant’s conviction of the offense set forth

 8   in Count One of this Information.

 9        2.   The defendant, if so convicted, shall forfeit to the

10   United States of America the following:

11             (a) All right, title and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds obtained, directly or indirectly, as a result of the

14   offense; and

15             (b) To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the

17   property described in subparagraph (a).

18        3.   Pursuant to Title 21, United States Code, Section

19   853(p), as incorporated by Title 18, United States Code, Section

20   982(b), the defendant, if so convicted, shall forfeit substitute

21   property, up to the total value of the property described in the

22   preceding paragraph if, as the result of any act or omission of

23   the defendant, the property described in the preceding

24   paragraph, or any portion thereof: (a) cannot be located upon

25   the exercise of due diligence; (b) has been transferred, sold to

26   or deposited with a third party; (c) has been placed beyond the

27   jurisdiction of the court; (d) has been substantially diminished

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 1   in value; or (e) has been commingled with other property that

 2   cannot be divided without difficulty.

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 1                          FORFEITURE ALLEGATION TWO

 2                              [18 U.S.C. § 982]

 3        1.   Pursuant to Rule 32.2(a) of the Federal Rules of

 4   Criminal Procedure, notice is hereby given that the United

 5   States will seek forfeiture as part of any sentence, pursuant to

 6   Title 18, United States Code, Section 982(a)(1), in the event of

 7   the defendant’s conviction of the offense set forth in Count Two

 8   of this Information.

 9        2.   The defendant, if so convicted, shall forfeit to the

10   United States of America the following:

11             (a)   Any property, real or personal, involved in such

12   offense, and any property traceable to such property; and

13             (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the

15   property described in subparagraph (a).

16        3.   Pursuant to Title 21, United States Code, Section

17   853(p), as incorporated by Title 18, United States Code, Section

18   982(b)(1), and Title 18, United States Code, Section 982(b)(2),

19   the defendant, if so convicted, shall forfeit substitute

20   property, if, by any act or omission of the defendant, the

21   property described in the preceding paragraph, or any portion

22   thereof: (a) cannot be located upon the exercise of due

23   diligence; (b) has been transferred, sold to, or deposited with

24   a third party; (c) has been placed beyond the jurisdiction of

25   the court; (d) has been substantially diminished in value; or

26   (e) has been commingled with other property that cannot be

27   divided without difficulty. Substitution of assets shall not be

28   ordered, however, where the convicted defendant acted merely as


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 1   an intermediary who handled but did not retain the property in

 2   the course of the money laundering offense unless the defendant,

 3   in committing the offense or offenses giving rise to the

 4   forfeiture, conducted three or more separate transactions

 5   involving a total of $100,000 or more in any twelve-month

 6   period.

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 8                                  E. MARTIN ESTRADA
                                    United States Attorney
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11                                  MACK E. JENKINS
                                    Assistant United States Attorney
12                                  Chief, Criminal Division

13                                  BENJAMIN R. BARRON
                                    Assistant United States Attorney
14                                  Chief, Santa Ana Branch Office

15                                  JENNIFER L. WAIER
                                    Assistant United States Attorney
16                                  Deputy Chief, Santa Ana Branch Office

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